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                       Exhibit A

                    Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                           Chapter 11

TPC GROUP INC., et al.,                                         Case No. 22-10493 (CTG)

                           Debtors.1                            Jointly Administered



BAYSIDE CAPITAL, INC. and CERBERUS                              Adv. Pro. No. 22-50372 (CTG)
CAPITAL MANAGEMENT, L.P.,

                           Plaintiffs,
v.
                                                                Re: A.D.I. ___
TPC GROUP INC.,

                           Defendant.


                           ORDER GRANTING MOTION TO DISMISS
                         COMPLAINT FOR DECLARATORY JUDGMENT

         Upon consideration of Motion to Dismiss the Complaint for Declaratory Judgment (the

“Motion”),2 the Court having reviewed the Motion, the accompanying Opening Brief, and the

responses thereto; and the Court having determined that the legal and factual basis set forth in the

Motion entitle TPC to the relief granted herein; and the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and

consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court’s entry of a final order being consistent with Article III of

1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313); Texas Butylene
     Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation (4241); TPC Phoenix
     Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each Debtor’s corporate
     headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas 77042.
2
     Capitalized terms not otherwise defined herein shall have the meanings provided, as applicable, in the Motion
     or the Opening Brief.
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the United States Constitution; and venue being proper before this Court under 28 U.S.C. §§

1408 and 1409; and after due deliberation and sufficient cause appearing therefore, it is hereby

ORDERED that:

       1. The Motion is granted.

       2. The Complaint [A.D.I. 3, 9] is hereby dismissed with prejudice.

       3. The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




                                                2
